                     IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS

The People of the State of Illinois

                       Plaintiff,

               v.                                   No. 09 CV 7599

Annabel K. Melongo                    .             Honorable Joan H. Lefkow

                                                    Magistrate Judge Susan E. Cox
                       Defendant.



              THE PEOPLE OF THE STATE OF ILLINOIS’ RESPONSE TO
                 DEFENDANT MELONGO’S NOTICE OF REMOVAL

       The People of the State of Illinois, by and through their attorneys, ANITA ALVAREZ,

Cook County State‟s Attorney, Patrick T. Driscoll, Jr., Deputy State‟s Attorney, Louis R. Hegeman,

and Thomas Cargie, Assistant State's Attorneys, hereby submits this response to Annabel K.

Melongo‟s Notice of Removal.

                                      I. INTRODUCTION

       On May 28, 2008, Defendant Annabel K. Melongo was indicted and charged with three

counts of violating section 16D-3 of the Illinois Computer Crime Prevention Law. 720 ILCS

5/16D-3. Melongo was arraigned before Cook County Circuit Court Judge James Shreier on

June 18, 2008, at which time Melongo‟s attorney acknowledged receipt of the indictment,

waived formal reading, and entered a plea of not guilty on her behalf. While that matter

remained pending in the Circuit Court of Cook County, Melongo filed a Notice of Removal in

this court on December 8, 2009, nearly a year and a half after her arraignment.

   Under the relevant federal statutory scheme, a defendant seeking to remove a criminal matter

to federal court must surmount both a substantive and procedure hurdle.           The substantive
requirements are in 28 U.S.C. § 1443, and the procedural requirements are in 28 U.S.C. § 1446.

In this case, Melongo fails to satisfy either provision‟s requirements; thus her request to remove

the criminal matter against her that is now pending in Illinois courts should be denied by this

court.

                                        II. ARGUMENT

A.       Melongo Did Not File Her Notice Of Removal Within 30 Days Of Being Arraigned
         And Has Not Shown Good Cause For Her Failure To Do So; Thus The Court
         Should Dismiss Her Untimely Petition

         28 USC § 1446(c)(1) provides that a notice of removal of a criminal case must “be filed

not later than thirty days after the arraignment in the State court, or at any time before trial,

whichever is earlier, except that for good cause shown the . . . court may enter an order granting

the defendant . . . leave to file the notice at a later time.” Here, Melongo‟s Notice of Removal

was filed more than 17 months after she was arraigned and there is no explanation in her notice

for the delay.

         Plaintiff‟s Notice of Removal intimates that her arraignment was invalid, but the

transcript of the proceedings before Judge Shreier that day shows that she was properly

arraigned. (A copy of the transcript of the proceedings of the June 18, 2008 arraignment is

attached as Exhibit A.) Under 28 U.S.C. § 753, that certified transcript is “deemed prima facie a

correct statement of the testimony taken and proceedings had.” This is true under Illinois law as

well. People v. Vincent, 165 Ill. App. 3d 1023, 1030 (1st Dist. 1988) (holding that Illinois courts

“must assume the certified transcript is correct until the contrary is proven[]”) Plaintiff has

brought forth no evidence to rebut that presumption of correctness. Thus, in accordance with the

clear commands of §1446(c)(1), the court should dismiss her removal petition as being untimely




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filed. See New York v. Mitchell, 637 F. Supp. 1100 (S.D.N.Y 1986) (dismissing as time-barred a

removal petition that was filed five months after arraignment).

B.      Melongo’s Notice Of Removal Does Not Satisfy The Requirements Of 28 USC
        § 1443; Thus Her Petition For Removal Should Be Dismissed On This Ground As
        Well.

        In her petition, Melongo states that removal of this matter to federal court is appropriate

under 28 USC 1446(a). That section, however, only describes the procedures that one must

follow to seek removal. It does not provide the substantive basis for such a removal. As noted

in Cincinnati v. Weaver, 245 F. Supp. 529, 532 (S.D. Ohio 1965), “Section 1446 is merely

procedural, and if the right of removal exists it must be under the provisions of Paragraphs (1)

and (2) of Section 1443.”; accord Dugas v. Hanover County Circuit Court, 2008 U.S. Dist.

LEXIS 67644 (E.D. Vir. Sept. 5, 2008) (noting that only 28 U.S.C. §1443 provides the

substantive basis for the removal of state criminal cases to federal court).

        Judge Grady explained the requirements of § 1443 in Zaun v. Illinois, 1990 U.S. Dist.

LEXIS 14611 (N.D. Ill. Oct. 24, 1990). He wrote:

     Section 1443(1) allows a defendant to remove a state court prosecution only if the defendant
     can show both that the federal right upon which he relies is a “right under any law providing
     for . . . equal civil rights," and that defendant is “denied or cannot enforce" that right in the
     courts of the state. Georgia v. Rachel, 384 U.S. 780, 788 (1966). . . .
         In Rachel, the Supreme Court construed the phrase “any law providing for . . . equal civil
     rights” to mean any law providing for specific civil rights stated in the terms of racial
     equality. Id. at 792. One such law, the court found, was the Civil Rights Act of 1964, “for in
     § 201(a) it guarantees to all the „full and equal enjoyment‟ of the facilities of any place of
     public accommodation without discrimination on the ground of race.” Id. at 792-93.
                ****
         Removal under § 1443(1) is proper only “in the rare situation where it can be
     clearly predicted by reason of the operation of a pervasive and explicit state or federal
     law that those rights will be denied by the very act of bringing the defendant to trial in
     state court.” [Greenwood v. Peacock, 384 U.S. 808,] 828 [(1966)].




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Zaun, at *4-*6 (emphasis added).; see also Dugas, 2008 U.S. Dist. LEXIS 67644 (dismissing a

petition for removal under § 1443, where the petitioner does not allege that he had been denied

or could not enforce the right to racial equality in a state court criminal proceeding).

       Here, Melongo does not complain that is clear that she will be denied any federal rights

just by virtue of being tried in state court. She does not even invoke any federal rights as the

basis of her petition for removal. Instead, she appears to be engaging in some sort of forum

shopping for her crimes. Her argument for removal rests on the fact that there is an analogous

federal law (The Computer Fraud and Abuse Act (18 U.S.C. § 1030)) that makes the conduct for

which Melongo was charged under Illinois‟s Computer Crime Prevention Law a federal crime as

well. Melongo apparently would rather be prosecuted by federal authorities rather than by state

authorities for her computer tampering.

       Merely because federal authorities can prosecute Plaintiff for her conduct, however, does

not prevent the Cook County State‟s Attorney from prosecuting her too. The ability of both the

federal government and Illinois to prosecute her for the same computer tampering is a function

of the so-called “dual sovereignty doctrine” that the U.S. Supreme Court has found to be inherent

in the nature of our federalist system. See Heath v. Alabama, 474 U.S. 82, 89 (1985) (noting that

“the proposition that the State and Federal Governments may punish the same conduct „is too

plain to need more than statement‟”) citing and quoting Westfall v. United States, 274 U.S. 256,

258 (1927) (Holmes J.).

       As Judge Grady pointed out in Zaun, removal of a criminal matter from state court to

federal court under § 1443 is appropriate only when there is a federal law that effectively grants

immunity to the defendant from state prosecution. Zaun, at *7. The Computer Fraud and Abuse




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Act (18 U.S.C. § 1030), which is the only substantive federal law upon which she relies, does not

afford Melongo such immunity. Thus, her petition for removal must be dismissed.

                                       III. CONCLUSION

       WHEREFORE, for the above and foregoing reasons, The People of the State of Illinois

respectfully requests that Defendant Annabel K. Melongo‟s December 8, 2009 Notice of Removal

be dismissed and the matter be remanded to the Circuit Court of Cook County, Illinois.

                                                     Respectfully submitted,
                                                     ANITA ALVAREZ
                                                     State‟s Attorney of Cook County


                                                     By:/s/ Thomas Cargie
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                                CERTIFICATE OF SERVICE

       I, Thomas Cargie, Assistant State‟s Attorney, certify that I electronically filed the above
THE PEOPLE OF THE STATE OF ILLINOIS’ RESPONSE TO DEFENDANT
MELONGO’S NOTICE OF REMOVAL with the Clerk of the Court via the CM/ECF System
and caused it to be served upon Plaintiff at the address below via U.S. Mail, posted on January
29, 2010, before 5:00 p.m.
Annabel K. Melongo
P.O. Box 1537
Addison, IL 60101
                                             /s/ Thomas Cargie

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